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                   LOS ANGELES FIRE & POLICE PLACEMENT FEE ANALYSIS

        2007                                    Amount              Placement Agent
        Apollo                                       $40   julio ramirez/marc correra*
        Ares                                          35   dan weinstein/marc correra*
        total Aldus investment                        75
        total pay‐to‐play                             75
        % pay‐to‐play                              100%


        2008                                    Amount              Placement Agent
        Bridgepoint                                  $37
        Platinum                                      30   julio ramirez/marc correra*
        Vista                                         30   marvin rosen
        Levine Leichtman                              25   dan weinstein/marc correra*
        Arcis                                         20
        Crestview                                     25   marvin rosen
        GI Partners                                   20
        Clayton Dubilier                              30   julio ramirez/marc correra*
        Thoma Bravo                                   20   julio ramirez/marc correra*
        Atlas                                         20
        Candover                                      26
        total Aldus investment                     $283
        total pay‐to‐play                          $160
        % pay‐to‐play                             56.5%

        2009                                    Amount              Placement Agent
        Angelo Gordon                                $35   julio ramirez
        Newstone                                      35   julio ramirez/marc correra*
        Ares                                          30   dan weinstein/marc correra*
        Odyssey                                       22   julio ramirez
        total Aldus investment                     $122
        total pay‐to‐play                          $122
        % pay‐to‐play                              100%

        2007‐2009 TOTAL PAY‐TO‐PLAY DOLLARS
        grand total Aldus            $480
        total pay‐to‐play            $357
        % pay‐to‐play                 74%
        20078‐2009 TOTAL PAY‐TO‐PLAY FUNDS
        grand total                    17
        total pay‐to‐play              12
        % pay‐to‐play                 71%

        New Mexico Overlapping Pay‐to‐Play Funds
        # NM funds                        8 47%
        $ NM dollars                   $245 51%

        * indicates recycled New Mexico Fund.




                                                                                         EXHIBIT A
